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          Guide to White Supremacy Groups



                                                         IDENTITY
                                                                                        NATIONAL       TRADITIONALISlVANGUARD     ADDITIONAL
   AMERICAN   ATOMWAFFEN HAMMERSKIN                    EVROPA/AMERIOMAGUE OF
                                                                                        SOCIALIST       WORKER       AMERICA/PATRIOT MEDIA
  RENAISSANCE   DIVISION   NATION                        IDENTITY   THE SOUTH
                                                                                        MOVEMENT         PARTY         FRONT       RESOURCE
                                                        MOVEMENT




                                                      Executive Summary
     Since the Ku Klux Klan (KKK) first formed in 1865, white supremacist groups in the United States have propagated racism,

     hatred, and violence. Individuals belonging to these groups have been charged with a range of crimes, including civil rights

     violations, racketeering, solicitation to commit crimes of violence, firearms and explosives violations, and witness tampering.

     0 Nonetheless, white supremacist groups-and their extremist ideologies-persist in the United States today. A February

     2017 Southern Poverty Law Center report identified 100 active white nationalist and 99 active neo-Nazi groups in the

     country. 0



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     In its Guide to White Supremacy Groups, the Counter Extremism Project (CEP) has identified eight especially virulent white

     supremacist groups, which principally espouse white ethno-nationalism and/or National Socialism (neo-Nazi). Neo-Nazi

     groups, such as the National Socialist Movement (NSM), Hammerskin Nation, and Atomwaffen Division, generally make no

     effort to hide their belief that the white race is superior to others. Their ideologies also usually include anti-Semitic and

     homophobic components that are in line with Nazi dogma. In contrast, groups such as the League of the South and Identity

     Evropa propagate their radical stances under the guise of white ethno-nationalism, which seeks to highlight the

     distinctiveness-rather than the superiority-of the white identity. Furthermore, it claims that the white identity is under

     threat from minorities or immigrants that seek to replace its culture. For example, Identity Evropa's chant, "You will not

     replace us," insinuates that growing minority populations threaten to overtake whites of European heritage in American

     society. 0 Members of this new generation of white supremacists, such as former Traditionalist Worker Party (TWP) leader

     Matthew Heimbach, have decried the traditional supremacist narrative of the inferiority of non-white races. Heimbach and

     his contemporaries have instead focused on racial separation rather than racial superiority, promoting the idea that all races

     are better served by remaining separate. 0


     Spurred by the rise of these younger ethno-nationalist leaders and organizations, some overtly racist groups have attempted

     to soften their radical images. In late 2016, the NSM abandoned its use of the swastika in order to "appear more integrated

     and more mainstream," according to NSM leader Jeff Schoep. 0 Despite the cosmetic change, the NSM's ideology and

     rhetoric have largely remained unchanged, while groups like the Hammerskins have thoroughly rejected the attempt at

     rebranding.


     In a further effort to gain popular support and acceptance for their radical platforms, most of the groups profiled in this

     resource have officially renounced violence and instead rely on demonstrations and propaganda to sway public opinion.

     Nonetheless, many affiliated individuals have still been involved in violent altercations spurred by ideologies that encourage

     racial elitism. Furthermore, violence plays a defining role for groups like Atomwaffen Division, which projects the image of a

     heavily armed militia preparing for an impending race war. 0


     Groups like Identity Evropa-which shut down in March 2019 as its leaders created the American Identity Movement (AIM)

     -officially reject violence but their identitarian ideology has directly inspired it. ldentitarians-including those based in non-

     European countries such as the United States and Australia-associate their Western identity as European. ldentitarians

     subscribe to a theory known as the Great Replacement, in which non-European migrants threaten to replace the dominant

     white European culture. 0 The March 15, 2019, attack on two New Zealand mosques that left at least 50 dead was a direct

     manifestation of the identitarian ideology to which Identity Evropa and AIM subscribe. Alleged attacker Brenton Tarrant

     entitled his manifesto "The Great Replacement" and wrote about the "crisis of mass immigration ... that, if not combated, will

     ultimately result in the complete racial and cultural replacement of the European people." 0 Like Identity Evropa, Tarrant

     identified a broader white European ethnic identity prevalent in the Western world that transcended national borders.


     Most of the groups profiled are comprised of a younger demographic of individuals in their 20s and 30s, and primarily target

     youth for recruitment through social media and other means. Groups like Identity Evropa, Atomwaffen Division, and


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     Vanguard America have actually spread their propaganda on college campuses, and groups such as the National Socialist

     Movement and League of the South have created youth wings and student memberships. 0 In recent years, social media

     and the Internet have also provided new outlets for white supremacists to spread their messages and recruit supporters.

     The founders of Atomwaffen Division met and organized on the now-defunct fascist online forum lronMarch, and created a

     cult-like subculture on social media through which they have further propagated their ideology. 0 Stormfront, America's

     oldest and most notorious nee-Nazi online forum founded in 1995, was removed by its Internet host in August 2017, but

     simply resurfaced months later. 0 Other forums, like the Daily Stormer, have moved their operations to the Dark Web, which

     is accessible only through encrypted software. 0 Websites like American Renaissance-which is easily accessible on the

     surface web-act as online media outlets, displaying links to pseudo-intellectual articles, videos, and podcasts that attempt

     to present white supremacy as a legitimate social science.


     CE P's Guide to White Supremacy Groups provides an overview of the history, propaganda, violent activities, and notable

     rhetoric of the most active and virulent white supremacist groups in the United States, as well as several prominent white

     supremacist media outlets.



                                                            Download Full Report




                                                                 Key Points:




               Some modern white supremacist groups, such as the Nationalist Socialist Movement, Hammerskin Nation,

               and Atomwaffen Division, subscribe to a National Socialist (nee-Nazi) ideology. These groups generally make

               no effort to hide their overt racist belief that the white race is superior to others.




              Other modern white supremacist groups, however, propagate their radical stances under the guise of white

              ethno-nationalism, which seeks to highlight the distinctiveness-rather than the superiority-of the white

              identity. Such groups, which include the League of the South and Identity Evropa, usually claim that white

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              identity is under threat from minorities or immigrants that seek to replace its culture, and seek to promote

              white ethno-nationalism as a legitimate ideology that belongs in mainstream political spheres.




              Most modern white supremacist groups eschew violent tactics in favor of using demonstrations and

              propaganda to sway public opinion and portray their ideologies as legitimate. However, their racial elitist

              ideologies have nonetheless spurred affiliated individuals to become involved in violent altercations.




              White supremacist groups often target youth for recruitment through propaganda campaigns on university

              campuses and social media platforms. White supremacists have long utilized Internet forums and websites to

              connect, organize, and propagate their extremist messages.




                                American Renaissance
                                American Renaissance is a right-wing magazine-turned-blog dedicated to

                                discussing the "problems of race." 0 The online magazine is edited by Jared

                                Taylor, who has previously acted as a spokesman for the white supremacist

                                group Council of Conservative Citizens (CCC). CCC president Earl Holt has also

                                contributed to and commented on American Renaissance's website. 0 American

                                Renaissance's publishers consider it the "Internet's premier race-realist site." 0


                                American Renaissance ran as a monthly print magazine from 1990 to 2012

                                before switching to an online-only format. 0 American Renaissance collects tax-

                                deductible donations through the New Century Foundation, a 501 (c)(3) non-profit

                                Taylor created in 1994. 0 According to the Southern Poverty Law Center, the

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                                 New Century Foundation promotes "pseudo-scientific studies and research that

                                 purport to show the inferiority of blacks to whites," which utilize academic jargon

                                 to disguise itself as serious scholarship. O In 2016, the Associated Press

                                 reported that the New Century Foundation, alongside three other white
                                 supremacist non-profit groups, had raised more than $8 million in a 10-year

                                 period. O




                                                                                                   Base of Operations
                           Leadership
                                                                                                        Oakton, Virginia 0
                           Editor-in-chief Jared Taylor, with support from

                           Henry Wolff and Chris Roberts. 0
                                                                                                           Website
                                                                                                         www.amren.com



                                                                                                       Social Media
                                                                                                   Twitter (suspended), Youtube



                            Jared Taylor
                            Editor-in-chief




                                                                 Chris Roberts
                            Henry Wolff




                                 Membership Size and Relevance
                                American Renaissance has a major on line presence. The group's Twitter

                                 account had more than 27,000 followers as of Augusl 25, 2017, but has since

                                                      •                          5
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                                been suspended. 0 The group's YouTube channel has more than 104,000

                                subscribers and 177 videos that have received more than 11.2 million views as

                                of March 19, 2019. 0 In addition to its online activities, the group also meets in

                                person. American Renaissance's 2017 annual conference drew what it called a

                                "sell-out," "record" crowd of 300 participants, and allegedly turned away up to

                                150 others. 0 The conference included notorious white supremacists such as

                                Richard Spencer and Nathan Damigo of Identity Evropa. 0 More than 250

                                attended the 2018 conference. 0




                                Recruitment and Propaganda
                                American Renaissance employs what Jared Taylor has referred to as "sober,

                                factual discussion" in order to present its ethno-nationalism as an academic

                                endeavor. 0 The website's leaders employ academic language to present racist

                                ideas as legitimate social science. For example, the group's self-description

                                claims they are "dedicated to the study of immigration and race relations so as to

                                better understand the consequences of America's increasing diversity .... " 0

                                American Renaissance labels its so-called academic approach as "race realism,"

                                the study of which it promotes as necessary for "the survival of the West." 0


                                American Renaissance also maintains a merchandise section on its website, and

                                encourages visitors to donate directly to the site's non-profit parent group, New

                                Century Foundation, or bequeath a donation in their wills. 0




                                      American Renaissance's 2017 annual
                                      conference drew what it called a "sell-
                                           out," "record" crowd of 300
                                       participants, allegedly turning away
                                                 up to 150 others.




                                                                               6
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                                 Violent Activities
                                American Renaissance is not known to have instigated any violent attacks. The

                                 organization instead relies on the spread of racist propaganda through its own

                                 media channels.




                                 Rhetoric
                                Jared Taylor, July 2017: "We are in a battle for our lives. We are all soldiers in

                                this titanic battle. And we will win!" 0




                                Jared Taylor, October 20, 2016: "Neither the French nor the Americans can

                                solve their race problem because they are mentally paralyzed. They refuse to

                                see that the multi-racial societies they are trying to build cannot succeed, and

                                they continue to pile compromise onto accommodation rather than give up on a

                                futile goal." 0




                                Jared Taylor, October 11, 2016: "What whites are expected to do is without

                                precedent in human history. We have the power to keep our lands for ourselves,

                                but we are throwing them open to aliens, aliens who despise us as they take

                                what is ours. Many nations have been overrun by powerful invaders. Never has

                                any people or nation let itself be pillaged by the weak. This is a mental sickness

                                unique to whites and unique to our era." 0




                                Atomwaffen Division
                                                                             7
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                                 German for "atomic weapons," Atomwaffen Division (AWD) is a nee-Nazi

                                 organization that seeks the creation of a National Socialist government through a

                                 violent "white revolution," and believes that a race war is inevitable. 0 The group

                                 promotes Nazi and satanic propaganda in pursuit of "total Aryan victory." OAWD

                                 gained national prominence after some of its members attacked counter-

                                 protesters at the Augusl 2017 Unite the Right rally in Charlottesville, Virginia.

                                 Police also suspect individual AWD members to be the perpetrators of multiple

                                 murders throughout 2017 and 2018. 0


                                AWD follows a nee-Nazi ideology promoted by James Mason, a former

                                American Nazi Party member and a follower of cult leader Charles Manson. 0

                                 During the 1980s, Mason wrote a series of pro-Manson and pro-Nazi newsletters

                                that he called Siege and later compiled into a book of the same name. 0 Users

                                 on the now-defunct fascist web forum Iron March formed AWD after discovering

                                 Siege. They based AWD's ideology on Mason's ideas of autonomous terror cells

                                fighting a guerilla war againsl "the system." 0


                                A 2018 joint ProPublica and PBS invesligation identified multiple active-duty and

                                former U.S. soldiers in AWD, including co-founder Brandon Russell, who served

                                in the Florida National Guard. 0 These AWD members have reportedly

                                organized training sessions in hand-to-hand combat and weaponry. 0 ProPublica

                                identified active-duty Marine Vasillios Pistol's as an AWD cell leader responsible

                                for physical attacks during the 2017 Charlottesville protest, 0 The Marines court

                                martialed, jailed, and discharged Pislolis after the public revelation of his identity.

                                 0


                                Other far-right groups have condemned AWD as a cult front for the British neo-

                                Nazi Satan isl group the Order of the Nine Angles. In January 2018, a former

                                AWD member wrote on line that the group had been infiltrated by Satanists.

                                According to leaked chat transcripts, several AWD members have resigned as of

                                March 2018 because of the growing occult fixation, while others have embraced

                                the satanic imagery. 0




                           Leadership                                                             Base of Operations
                                                                                                  AWD has no central base of·
                           Brandon Russell and Devon Arthurs co-founded

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                                                                                                  operations. AWD reportedly
                           AWD in 2015. 0 John Cameron Denton, a.k.a.
                                                                                                 operates chapters in Arizona,
                           "Rape," is the current reported leader of AWD,
                                                                                                Arkansas, California, Colorado,
                           though Russell reaffirmed his position as leader in
                                                                                                Florida, Illinois, Kentucky, Maine,
                           a May 2018 recording from prison. 0 Kaleb J. Cole
                                                                                                   Massachusetts, Michigan,
                           is the reported leader of AWD's Washington state
                                                                                                Minnesota, Mississippi, Missouri,
                           chapter. Sean Michael Fernandez is a leader of the
                                                                                                  Nevada, New Jersey, North
                           Texas cell. 0 According to Vice News, a Canadian
                                                                                                Carolina, Ohio, Oklahoma, South
                           individual who goes by the pseudonym Dark
                                                                                                    Carolina, Texas, Virginia,
                           Foreigner is AWD's official propagandist and
                                                                                                Washington, Washington, D.C.,
                           graphic designer. O
                                                                                               Wisconsin, Canada, and Germany.

                                                                                                                 0



                                                                                                          Website
                                                                                                 https://atomwaffendivision.org

                                                                                                          (suspended),

                                                                                               https://siegeculture.biz/ (offline as
                            Brandon Russell
                                                             Devon Arthurs                               of March 2019)



                                                                                                       Social Media
                                                                                               Gab (Dark Foreigner), Gab (Groz),

                                                                                                   Gab (Siege Culture), Gab

                                                                                                 (Sonnenkreig Division), Twitter

                                                                                                 (AtomwaffenDiv) (Suspended),
                            John Cameron                                                        Twitter (Dark Foreigner), Twitter
                            Denton                           Kaleb J. Cole
                                                                                               (Siege Culture), Twitter (Wallcroft

                                                                                                 AW), Tumblr (Dark Foreigner),

                                                                                                YouTube (Atomwaffen Division)

                                                                                                 (Suspended), YouTube (Dark

                                                                                               Foreigner), YouTube (SiegeWave),

                                                                                                    YouTube (Read SIEGE)


                            Sean Michael                                                         AWD has posted propaganda
                            Fernandez
                                                                                                  videos on the video-sharing

                                                                                                 service BitChute. 0 The group

                                                                                                 previously posted propaganda

                                                                                               videos to YouTube, which led to a


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                                                                                                February 2018 Daily Beast report

                                                                                               on YouTube's refusal to ban AWD

                                                                                               for violations of its terms of service.

                                                                                               YouTube subsequently suspended

                                                                                               AWD's account, citing "multiple or

                                                                                                 severe violations of You Tube's

                                                                                                policy prohibiting hate speech." 0




                                 Membership Size and Relevance
                                AWD reportedly has approximately 80 members in about 20 cells around the

                                 United States. According to a former AWD member, AWD saw a membership

                                 surge after the 2017 Unite the Right rally in Charlottesville, Virginia. A 2018

                                 ProPublica investigation identified AWD members in at least 23 states. According

                                to AWD chat records, its largest chapters are in Washington, Virginia, and

                                Texas. 0 The group has also reportedly expanded into Canada and Germany. 0


                                 In July 2018, AWD members on the social media site Gab began displaying the

                                name Sonnenkrieg Division, which launched its own Gab page the following

                                month. The group appears to be a subdivision of AWD and uses similar

                                propaganda and imagery. 0




                                 Recruitment and Propaganda
                                James Mason's book Siege is required reading for AWD members. 0 In 2017, a

                                group of lronMarch members created a website for Mason's writings at

                                https://siegeculture.biz/. 0 The site's administrators credit AWD for the

                                development of the so-called Siege Culture promoting Mason and his writings. 0

                                The website was offline as of March 2019. 0 AWD openly embraces Nazi and

                                satanic imagery and rhetoric based on Mason's Nazi beliefs and fealty to the late

                                cult leader Charles Manson. 0 AWD members have also cited Oklahoma City

                                bomber Timothy McVeigh and mass shooters Dylann Roof and Anders Breivik

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                                  as inspirations. 0


                                  In June 2018, AWD reportedly began selling t-shirts through the online retailer

                                  Teespring in support of Sam Woodward, the AWD member who allegedly

                                  murdered Blaze Bernstein in California earlier that year. 0




                                  Violent Activities
                                  AWD propaganda videos have featured members armed with assault weapons

                                  attending military-style training sessions. Leaked chat logs of AWD members

                                  include discussions of targeting U.S. power facilities and other infrastructure. 0

                                  The group itself has not yet claimed any specific attacks, but individual AWD

                                  members have been linked to multiple acts of violence.


                                  • On January 2, 2018, AWD member Sam Woodward allegedly fatally stabbed

                                     20-year-old University of Pennsylvania student Blaze Bernstein in California.

                                     Authorities accuse Woodward of killing Bernstein for being gay. 0 Woodward

                                     is awaiting trial as of August 2018. AWD has praised Bernstein's murder. 0

                                  • On December 22, 2017, 17-year-old Nicholas Giampa murdered his

                                     girlfriend's parents, Buckley Kuhn-Fricker and Scott Fricker, in their Reston,

                                     Virginia, home. Giampa then shot himself but survived. The Frickers had

                                     reportedly encouraged their daughter to break up with Giampa because of his

                                     extremist views. Prior to the murders, Giampa had tweeted about using Jews

                                     for target practice, his love for Adolf Hitler, and hatred of transgender people.

                                     He had also praised James Mason's book, Siege. 0 AWD members said that

                                     Giampa had been in direct contact with the group. 0 Police charged Giampa

                                     with murder upon his release from the hospital, though he was charged as a

                                     minor. 0

                                  • On August 12, 2017, AWD members attacked counter-protesters at the Unite

                                     the Right rally in Charlottesville, Virginia. 0 In July 2018, the U.S. Marine

                                     Corps discharged AWD member Vasillios Pistolis after he served 28 days in a

                                     military prison for disobeying orders and lying about his participation in the

                                     Charlottesville rally. Pistolis had bragged online about engaging in violence at

                                     the rally. 0

                                  • On May 19, 2017, former AWD member and co-founder Devon Arthurs took


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                                      hostages at a smoke shop in Tampa, Florida. Police convinced Arthurs to

                                      release the hostages without incident. Arthurs then confessed that he had

                                      killed two of his roommates, Jeremy Himmelman and Andrew Oneschuk.

                                      Arthurs also told police that his other roommate, AWD co-founder Brandon

                                      Russell, was stockpiling explosives to blow up power plants and synagogues
                                      in Florida. 0 Arthurs claimed he killed his roommates to prevent an AWD

                                      terror attack. 0 Police discovered the bodies of Himmelman and Oneschuk

                                      and explosive materials at the shared condo. 0 In September 2017, Russell

                                      pied guilty to stockpiling the explosives. 0 He received a five-year sentence in

                                      January 2018. 0 In February 2018, Arthurs was found mentally unfit to stand

                                      trial. 0




                                  Rhetoric
                                  Tweet from AWD member "Wallcroft AW," posted with a picture of armed and

                                  masked AWD members, August 13, 2018: "We avenge you for centuries of rape,

                                  murder and theft! Behold the power of our killing machine! There'll be nothing but

                                  dust when the vultures have left." 0




                                  Audio recording of AWD imprisoned co-founder Brandon Russell in an AWD

                                  propaganda video, May 2018: "I have become a prisoner of war in this war

                                  against society .... To all the outsiders who tried to hinder our efforts, I say this to

                                  you: I created something beautiful. Beautiful things scare you people. You just

                                  don't like it because it doesn't like you. Night shall turn to day as flames burn

                                  brilliantly. The sword has been drawn. There is no turning back." 0




                                  AWD flier found in Brandon Russell's car, January 2018: "Don't prepare for

                                  exams, prepare for a race war." 0




                                  Unidentified AWD member in a video announcing the formation of a German

                                  chapter, June 2018: "Sieg Heil." (A Nazi salute meaning "Hail victory.") 0




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                                 AWD member "Vass" in a private chat log, January 28, 2018: "First sergeants

                                 are officially all homosexual Jews who will die during the revolution." 0




                                 Dark Foreigner in a blog post on Tumblr, January 18, 2018: "Let's bring a new

                                 image of terror and dread, to the 21st century.'' 0




                                 Unidentified former AWD member to ProPublica, 2018: "We want men who are

                                 willing to be the boots on the ground. Joining us means serious dedication not

                                 only to the Atomwaffen Division and its members, but to the goal of Total Aryan

                                 Victory.'' 0




                                 Twitter post by AWD member Vasillios Pistolis on his participation in the Unite

                                 the Right rally in Charlottesville, Virginia, August 12, 2017: "Today cracked three

                                 skulls open with virtually no damage to myself.'' 0




                                 Leaked communication from an AWD chatroom, undated: "Rats and traitors get

                                the rope first.'' 0




                                 Unidentified AWD member in a leaked audio conversation, undated: "You guys

                                 can get all moralistic if you want about satanism but at the end of the day when

                                the fuckin' race war comes, morals aren't going to do anything but get you fuckin'

                                 killed.''O




                                 Propaganda flier, undated: "A new world order will rise from the ashes of the kike

                                 system."0




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                                 Hammerskin Nation
                                 Hammerskin Nation is reportedly the largest, most organized, and most violent

                                 neo-Nazi skinhead gang in the United States. 0 The group launched in 1988 and

                                 has since spread internationally. 0 Hammerskin members have been arrested on

                                 charges of murder, assault, arson, vandalism, harassment, and other hate

                                 crimes.


                                 The Hammerskin movement grew out of the skinhead punk music scene in the

                                 1980s. The first Hammerskin chapter launched in Dallas, Texas, in 1988 as the

                                 Confederate Hammerskins. In 1990, the group created its first international

                                 chapters in Northern Ireland and Switzerland. Australian and Canadian chapters

                                 emerged in 1993. In 1994, the various regional Hammerskin chapters united

                                 under the single banner of Hammerskin Nation. Hammerskin Nation reinstated

                                 its regional system in 1999 while maintaining the international umbrella. 0


                                The Hammerskin Nation website and its online forums reportedly shut down in

                                2001 under unclear circumstances. Shortly after, noted white supremacist Tom

                                 Metzger declared there was no longer an official Hammerskin Nation. 0

                                 Nevertheless, a site declaring itself the official Hammerskin Nation site went

                                online in 2002. 0 The site remained active as of October 2018, though its online

                                forums were inoperable. 0 Despite the diminished online presence, Hammerskin

                                 Nation members remain active. In his 2018 book Everything You Love Will Bum,

                                journalist Vegas Tenold reported on Hammerskin activities in 2016 and the

                                group's relations with other white supremacist organizations. 0 The

                                Hammerskins also continue to organize and promote the annual Hammerfest

                                white power music concert. The most recent Hammerfest was scheduled for

                                October 2018 in California. 0




                                                                                                         Website
                           Leadership
                                                                                                 https://www .hammerskins.net/,
                           The Hammerskins declare themselves to be a
                                                                                               http://www.crew38.com/forum38/index.php
                           leaderless organization. 0


                                                                                                      Social Media
                           Base of Operations
                                                                                                 Facebook (Crew 38, Finland),
                           The first Hammerskins chapter emerged in Dallas,

                                                                             14
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                                                                                              Facebook (Crew 38, Spain),
                           Texas, but the group has no centralized global
                                                                                              Facebook (Crew 38, Sweden)
                           base of operations. As of October 12, 2018, the

                           Hammerskin Nation website listed six U.S.

                           chapters divided by region: West, Northwest,

                           Midland, Confederate, Northern, and Eastern.

                           Additionally, the group maintains chapters in

                           Australia, Canada, France, Germany, Hungary,

                           Italy, New Zealand, Portugal, Spain, Sweden,

                           Luxembourg, and Switzerland. 0




                                 Membership Size and Relevance
                                 Hammerskin Nation includes six regional chapters in the United States and 12

                                 international chapters. 0 There are no estimates of the group's membership

                                 numbers, but it is reportedly the largest neo-Nazi skinhead gang in the United

                                 States. 0




                                 Recruitment and Propaganda
                                 Prospective members of Hammerskin Nation are vetted through multiple stages.

                                 First, they become what journalist Vegas Tenold called "hang-arounds," following

                                members of a Hammerskin chapter but without any status in the group. If

                                members approve of a hang-around's behavior, he or she receives a

                                probationary membership in Crew 38, a Hammerskin support network. After

                                proving their loyalty, the prospective member is then offered membership in

                                Hammerskin Nation. The process can last years before a member advances to

                                the main group. 0


                                White power music remains the Hammerskins' primary recruitment method. The

                                Hammerskins host the annual Hammerfest music festival to celebrate the genre

                                of white power music. 0 The group held the first Hammerfest in 1999. 0 Bands


                                                                             15
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                                 that have performed at Hammerfest include Beer Hall Putsch and Definite Hate,

                                 which previously included Wade Michael Page, who attacked a Sikh temple in

                                 2012. 0 Then-Traditionalist Worker Party leader Matthew Heimbach spoke at the

                                 2016 Hammerfest, praising the Hammerskins as "an example for all

                                 Nationalists." 0 White supremacist record label Antipathy Records maintains a

                                 "Hammerskin Gear" section on its website. 0


                                 The Hammerskins promote the numeral 14 based on the 14-word white

                                 supremacist motto: "We must secure the existence of our people and a future for

                                White Children." 0 The movement is also represented by the number 838, which

                                 corresponds to the letters H, C, H, an acronym of the Hammerskin motto, "Hail

                                the Crossed Hammers." The motto is a reference to the Hammerskin flag, which

                                 portrays two crossed hammers. The symbol is a constant in Hammerskin

                                 propaganda and its various chapter logos. 0 It is derived from the symbol of a

                                fictional neo-Nazi movement in the 1982 movie Pink Floyd: The Wall. 0

                                 Hammerskin member Wade Michael Page, who killed six people at a Sikh

                                temple in 2012, had 838 tattooed on his arm to signify membership in the

                                 Hammerskins. O




                                Violent Activities
                                The Hammerskin Nation encourages its members to enlist in military forces,

                                such as the U.S. Army, in order to train for a pending race war. Military personnel

                                told Reuters in 2012 that white nationalists are dedicated to the military training

                                because they want to learn weaponry and combat skills. 0 Hammerskin Nation

                                as an organization has not orchestrated violent activities. Nonetheless,

                                Hammerskin members have been involved in numerous violent acts. Further,

                                there have been multiple reports of Hammerskin members engaging each other

                                in physical altercations during Hammerskin events. 0


                                • November 8, 2016, Portuguese police arrested 20 Hammerskin Nation

                                    members across the country on suspicion of involvement in a series of violent

                                    hate crimes in Portugal between 2013 and 2015. 0

                                • On July 10, 2015, police in East Windsor, New Jersey, arrested Richard

                                    Pearson on charges of maintaining a drug manufacturing facility, aggravated


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                                    arson, theft and destruction of evidence. Pearson had multiple previous

                                    convictions in Florida and Massachusetts on charges of attempted murder,

                                    aggravated assault, home invasion, bias crimes, and bail jumping.

                                    Prosecutors have accused Pearson of affiliation with Hammerskin Nation. G

                                 • On March 18, 2015, skinhead Ryan Giroux shot dead one person and

                                    wounded six others in an hours-long ordeal that began outside a motel in

                                    Mesa, Arizona. He then carjacked a vehicle and traveled to a condominium

                                    complex where he was arrested by a SWAT team. A retired Mesa police

                                    detective familiar with Giroux identified him as a member of Hammerskin

                                    Nation. Giroux pied guilty to first-degree murder and 22 other charges. He

                                    received a life sentence in 2016. G

                                 • On August 6, 2012, Hammerskin Nation member Wade Michael Page

                                    attacked a Sikh temple in Oak Creek, Wisconsin, killing six and critically

                                    wounding three others. A police officer shot and killed Page on the scene. G

                                    The Anti-Defamation League had identified Page as a white supremacist in

                                    2010 based on his involvement in white power music bands. G

                                 • In April 2011, Hammerskin member Matthew Branstetter and an accomplice

                                    beat a Jewish man unconscious and robbed him in a park in Orange County,

                                    California. Branstetter was convicted of aggravated assault with a hate crime

                                    enhancement. He was sentenced to 20 months in prison. G

                                 • On March 17, 1999, six Hammerskin members attacked a 23-year-old black

                                    man in Temecula, California. The Hammerskins allegedly shouted racial

                                    epithets while beating Randy Bowen, who managed to escape. Three of the

                                    Hammerskin members pied guilty to assault with a deadly weapon and

                                    committing a hate crime. G Five of the attackers received sentences ranging

                                    from four to 14 years in prison. G

                                • On December 24, 1991, Hammerskin members Louis Oddo and Adam

                                    Galleon reportedly beat a homeless black man to death in Birmingham,

                                   Alabama. Both Oddo and Galleon were convicted of murder. G

                                • On June 7, 1991, Hammerskin members William George "Trey" Roberts 111,

                                    Joshua Everette Hendry, and Christopher Brosky shot and killed 32-year-old

                                    black man Donald Thomas in a drive-by shooting in Arlington, Texas. G

                                • In the summer of 1991, members of the Confederate Hammerskins reportedly

                                   formed "park patrols" in Dallas and "chased, beat, and assaulted any

                                    nonwhites they found," according to the U.S. Department of Justice. G Also

                                   that summer, Hammerskin members vandalized a Dallas synagogue and

                                   Jewish community center. G


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                                 Rhetoric
                                 Hammerskin member Travis Miskam after attacking 23-year-old black man

                                 Randy Bowen with five other Hammerskin members, March 17, 1999: "We don't

                                 like niggers here; I don't like niggers." 0




                                 Online comment by imprisoned Hammerskin member Jimmy Matchette,

                                 undated: "Being a Hammerskin is the distinct feeling of being set apart from the

                                entire planet. And of knowing we will conquer & overcome all obstacles to

                                achieve our goals and accomplish our great work, knowing that if we fail, all is

                                lost forever and the west will perish. Even though I am locked down in a

                                maximum security federal penitentiary, I wouldn't [have] traded the opportunity

                                for all the gold in the world. You my true comrades hold all the glory of victory at

                                your fingertips. We really are the most notorious White power Skinhead group in

                                the entire World!" 0




                                Editorial in now-defunct Hammerskin Press, undated: "We've experienced death,

                                prison, and numerous court battles. Through all this, we're still standing! No

                                LAWS will ever break us!" 0




                                Statement from now-defunct Hammerskin Press, undated: "The MOST

                                NOTORIOUS band of Skinheads in the World have metastasized from the mean

                                streets, and into your home [sic]. Where ever you go, our WEB of Racism will

                                follow!"O




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                                 Identity Evropa/American Identity
                                 Movement
                                 Created in 2016, Identity Evropa is a white supremacist group that promotes

                                 white European identity and the preservation of white culture based on the

                                 concept of "identitarian politics." Identity Evropa claims to represent a

                                 "generation of awakened Europeans" who "oppose those who would defame our

                                 history and rich cultural heritage." 0 In March 2019, Identity Evropa's leaders

                                 announced the closure of the group. They simultaneously announced the

                                formation of a new group called American Identity Movement (AIM), which they

                                 said would remain committed to Identity Evropa's cause while promoting

                                 nationalism, identitarianism, non-interventionism, protectionism, and populism. 0


                                 Identity Evropa founder Nathan Damigo is a former Marine who was convicted of

                                armed robbery after returning from two tours in Iraq. In prison, he read the works

                                of former KKK leader David Duke and white supremacist J. Philippe Rushton. 0

                                 Damigo has spoken publicly alongside white nationalist Richard Spencer.

                                 Identity Evropa largely targeted college students and viewed protests like the one

                                in Charlottesville, Virginia, as recruitment drives. 0


                                Eli Mosley, who took over Identity Evropa from Damigo in late August 2017,

                                played a key role in organizing the Unite the Right rally earlier that month in

                                Charlottesville. Encouraged by the perceived success of the rally, Mosley told

                                the media that he planned to organize many more rallies for Identity Evropa. 0 In

                                early December 2017, Mosley resigned and Patrick Casey, a.k.a. Reinhard

                                Wolff, became the group's new CEO. Casey reportedly wanted to distance

                                Identity Evropa from the negative coverage of the Charlottesville rally through

                                more private, invitation-only events rather than large gatherings like Unite the

                                Right. Casey called for more public banner displays and more demonstrations on

                                college campuses, as well as at meet-ups, fitness clubs, and similar communal

                                events. 0 Identity Evropa joined a November 2018 lawsuit against the city of

                                Charlottesville claiming city officials violated their rights by not allowing the rally

                                to go forward. Identity Evropa dropped out of the lawsuit the following month.

                                The National Socialist Movement, Traditionalist Worker Party, and rally organizer

                                Jason Kessler remained on the lawsuit. 0


                                In March 2019, Identity Evropa's leaders simultaneously announced the

                                organization's closure and the creation of AIM. Casey said in a press release

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                                 that Identity Evropa was "held down by baggage accumulated before my tenure."

                                 0 This is likely a reference to Identity Evropa's linkage with the Unite the Right

                                 rally, from which Casey had previously sought to distance the group. Further, a

                                 series of racist and anti-Semitic Identity Evropa private chat messages leaked

                                 from the on line chat server Discord earlier that March. 0 Casey claimed on

                                 Twitter that the brand change had been planned for months and had nothing to

                                 do with the leaked messages. According to Casey, Identity Evropa focused

                                 solely on the promotion of white identity but AIM would expand its focus through

                                 a "holistic approach" that would include identitarianism, non-interventionism,

                                 nationalism, protectionism, and populism. 0 Casey and AIM have sought to

                                 disavow Identity Evropa and "the decisions of former leaders and members,"

                                 claiming that Casey had no leadership role in the organization during

                                 Charlottesville. 0


                                AIM announced that it would phase out Identity Evropa's web presence and

                                create its own. 0 AIM claims to be "a growing, active movement defending our

                                 nation against mass immigration and the scourge of globalism." OAIM further

                                claims that it seeks "peaceful, visible action" and the "restoration of American

                                identity." 0 The group held an inaugural conference in Nashville, Tennessee, on

                                March 9, 2019. 0 The following day, almost 100 AIM members rallied at the

                                State Capitol in Nashville in the group's inaugural protest. 0




                                                                                                  Base of Operations
                           Leadership
                                                                                                      Oakdale, California 0
                           Nathan Damigo is the founder and former leader of

                           Identity Evropa. On August 27, 2017, Damigo

                           stepped down as Identity Evropa's leader and                                   Website
                           named Eli Mosley as the new CEO. 0 In December                           www.identityevropa.com,
                          2017, Mosley resigned and Patrick Casey became                       www.americanidentitymovement.com
                          the new CEO. 0 Casey is the founding president of

                          AIM.O
                                                                                                       Social Media
                                                                                                    Twitter (Identity Evropa)

                                                                                               (suspended), Twitter (Ladies of IE),

                                                                                               Twitter (Nathan Damigo) (deleted),

                                                                                                Twitter (Eli Mosley)(suspended),


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                                                                                               Twitter (Patrick Casey), Twitter

                                                                                                   (AIM), YouTube(AIM)

                            Nathan Damigo
                            Founder and former               Eli Mosley
                            leaderO                          Former CEOO




                            Patrick Casey
                            CEO




                                 Membership Size and Relevance
                                 Identity Evropa allegedly had a nationwide membership of 300 as of February

                                2017, but the group had an increasingly visible presence at national white-

                                supremacy rallies and in the media. 0


                                 Identity Evropa had more than 29,000 followers on Twitter as of April 2018. 0

                                 Damigo had 19,000 Twitter followers as of April 2, 2018. 0 His Twitter account

                                 has since been discontinued. 0 Patrick Casey had more than 14,000 Twitter

                                followers as of March 15, 2019, an increase of 6,000 over the course of the

                                previous year. 0 The Identity Evropa YouTube account had 7,085 subscribers as

                                of March 11, 2019. The account's 12 videos had collectively received more than

                                 117,000 views as of April 2018 but had been deleted by March 2019 as AIM

                                closed Identity Evropa's accounts. 0 Al M's twitter account had 2,887 followers as

                                of March 19, 2019. 0 Its Facebook page had 165 followers as of the same date.

                                 0 Its YouTube page had received 1,101 views in the six days following its

                                launch on March 13, 2019. 0




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                                AIM claimed it drew almost 100 people to its inaugural rally at the State Capitol

                                 in Nashville, Tennessee, on March 10, 2019. 0




                                 Recruitment and Propaganda
                                 Identity Evropa focused its propaganda and recruitment efforts primarily on

                                 university campuses, where it sought to start student groups. In 2017, Identity

                                 Evropa propaganda appeared on more than 30 college campuses. 0 The

                                group's membership form invites those U.S. residents "of European, non-Semitic

                                heritage" to join its ranks. Applicants "ready to make a real difference for the

                                future of our people" are interviewed over video conference call. 0 The group

                                used as its logo an old European design of a dragon's eye with a "Y" inside,

                                which it claims represents the choice between good and evil. 0


                                AIM portrays itself as a patriotic American organization that seeks to protect the

                                American cultural identity. The group's language in its propaganda specifically

                                promotes American nationalism and references ideas such as "the preservation

                                of America's historical demographics in the face of mass immigration" and

                                protecting "American industry and workers, rather than benefit globalist

                                interests." 0 AIM has adopted patriotic colors and symbolism in its propaganda.

                                Its logo features a bald eagle and shield decorated with stars colored in red,

                                white, and blue. AIM has created flyers and shirts with its logo and other imagery

                                reminiscent of U.S. propaganda during World War II. 0 Al M's language is

                                couched in patriotism. It uses slogans such as "Defend America!" to promote its

                                anti-immigration positions. The group proudly displays American flags to give the

                                illusion that they are supporting the country rather than xenophobia. OAIM

                                claims to reject extremism, political violence, and all forms of supremacy in favor

                                of "peacefully and lawfully" effecting change through activism and popular

                                protest. 0 Despite its claims of rejecting supremacy, Al M's rhetoric firmly

                                supports the preservation of what it considers to be the white identity of America.

                                 0




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                                 Violent Activities
                                 Identity Evropa members have been involved in violent confrontations during

                                 several far-right rallies across the country. AIM officially rejects violence and its

                                 members have not been involved in violent activities.


                                 • During an August 7, 2017, rally in Portland, Oregon, members of Identity

                                     Evropa were reportedly responsible for violent confrontations with counter-

                                     protesters. 0

                                 • During an April 15, 2017, anti-Trump rally in Berkeley, California, Identity

                                     Evropa counter-protesters reportedly verbally and physically assaulted

                                     protesters in attempts to instigate violence. Damigo was filmed personally

                                     punching a protester in the face. Students at California State University at

                                     Stanislaus, where Damigo is a student, signed a petition to the university

                                     stating they do not feel safe with Damigo on campus. 0




                                 Rhetoric
                                AIM website, accessed March 18, 2019: "We acknowledge that identity plays a

                                central role in human affairs. Identity comes in many forms and is often the

                                source of much social conflict. Like it or not, identity politics are the norm in

                                multicultural societies. We staunchly defend the preservation of America's

                                historical demographics in the face of mass immigration, and are opposed to the

                                demonization of and discrimination against America's white majority." 0




                                AIM website, accessed March 18, 2019: "We see America's currently ruling elites

                                as hostile to the historical people, culture, and identity of America. Our ultimate

                                goal is thus a shift in the American power structure. So long as we're ruled by

                                hostile individuals and institutions, America will not be made great again." 0




                                AIM poster in Richmond, Virginia, March 14, 2019: "Diversity destroys nations."

                                 0




                                                                              23
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                                 Patrick Casey tweet, March 14, 2019: "The irony, of course, is that the opposite

                                 is true-the only institutional discrimination in America is against white people." 0




                                 AIM press release, March 12, 2019: "Americans of European heritage are being

                                 demographically replaced as a result of mass immigration." 0




                                 Nathan Damigo, August 27, 2017: "We have lit a beautiful fire that is engulfing

                                the Western world. The existence of our people is not negotiable, and a new

                                 order is now emerging as the old paradigm spasms and flails under the weight of

                                 its own contradictions." 0




                                 Identity Evropa graphic advertising the Unite the Right rally, July 28, 2017: "You

                                will not replace us" 0




                                 Identity Evropa Twitter account, July 15, 2017: "The #WarOnWhites is an

                                 imminent threat to the security of our nations and the future of our people. Fight

                                back!"O




                                 League of the South
                                Created in 1994, the League of the South is a self-proclaimed "neo-Confederate"

                                group that seeks a second Southern secession and a society dominated by

                                "European Americans." 0 The League advocates the transformation of southern

                                U.S. states into independent nations in order to protect Southerners of European

                                descent who are "committed to preserving the traditional culture of the South." 0

                                The group promotes itself as pro-South and pro-white, and has levied hateful

                                rhetoric against non-Christians and African Americans, among other minorities.

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                               The League further claims that it is not a racist organization, as it deems the

                               word "racist" to be "a slur used by anti-Whites."" Instead, the group argues it is

                               "pro-South and pro-White." 0


                               The League of the South has warned supporters about the loss of white,

                               Christian culture in America due to what the group calls the "corrupt and

                               corrupting influence of post-Christian culture in America." 0 During the League's

                               June 2017 national conference in Alabama, former KKK leader David Duke said

                               that there has been a "purposeful destruction of our country" and praised the

                               League's "glorious leader," Michael Hill. 0


                               In February 2017, the League of the South created the Southern Defense Force

                               to "combat this growing leftist menace to our historic Christian civilization."

                               League of the South founder Michael Hill noted that the League does not
                               promote violence except in "self-defense of life, liberty, and property," but has

                               called on followers to stand ready by building their firearms and hand-to-hand

                               combat skills. Though Hill officially disavowed the use of violence in an offensive

                               capacity, his inflammatory rhetoric threatens to inspire others to violence, as Hill

                               makes vague and provocative statements such as the assertion that whites will

                               "not only fight back, but relish doing so!" 0




                                                                                              Base of Operations
                          Leadership
                                                                                                  Killen, Alabama 0



                                                                                                    Website
                                                                                                leagueofthesouth.com



                                                                                                 Social Media
                           Michael Hill
                           Founder and president                                                     YouTube
                           0




                               Membership Size and Relevance
                                                                            25
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                                 Membership Size and Relevance: The League of the South claims to maintain

                                 16 chapters across the United States. 0 The group's membership has

                                 significantly increased since its founding in 1994. By 1998, the League of the

                                 South claimed to have recruited 4,000 members. By 2000, it reportedly had

                                 roughly 9,000 members, and in the early 2000s, that number allegedly grew to

                                 15,000 members nationwide. In 2009, Michael Hill claimed that his organization

                                 had 25,000 members, but far-right watchdog groups doubted the veracity of this

                                 claim. OAs of August 25, 2017, more than 7,500 people followed the League of

                                 the South's Facebook page, which has since been suspended. 0 The group's

                                 YouTube channel has received more than 50,000 views as of April 2, 2018. 0


                                 In the mid-2000s, the League of the South splintered as many group leaders

                                 defected over Hill's increasingly overt racism. However, the group has adapted

                                to internal fissures by mobilizing new followers around mainstream political

                                 issues such as immigration and "traditional marriage." 0




                                 Recruitment and Propaganda
                                The League of the South appeals to Southern pride and nationalism by

                                propagandizing that the Southern way of life is under threat. Those who join the

                                group are told that they are joining "a group of Southern Nationalist men and

                                women who are not content to sit by and allow their land, liberty, and culture be

                                destroyed by an alien regime and ideology." 0 The League of the South offers

                                membership rates ranging from $30 for students to $1,000 for "sustaining"

                                members. 0 To spread its propaganda, the League maintains a social-media

                                presence through Facebook and YouTube. It also hosts annual conferences and

                                distributes newsletters.




                                Violent Activities
                                At least one member of the League of the South has been linked to political


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                                 violence and domestic terrorism plots.


                                 • In 2004, police arrested Michael Tubbs, a leading activist in Florida and
                                     former soldier, and found several caches of arms and explosives along with a

                                     target list that included newspapers, television stations, and Jewish-owned

                                     businesses. 0 After his arrest, news outlets discovered that Tubbs had a

                                     history of violence and had robbed fellow soldiers at gunpoint. Despite the

                                     arrest, Michael Hill and other leaders allowed Tubbs to remain a member. 0




                                 Rhetoric
                                 Michael Hill, March 28, 2017: "With each passing day, we move closer to open

                                 conflict in America-civil war, if you will-between the forces of Western

                                 Civilization (which is founded on a biblical understanding of nationalism) and the

                                 forces of Judeo-Marxism or godless international leftism in general." 0




                                 Michael Hill, September 22, 2016: "Feral negroes and those puppeteers who

                                 control their actions had best be careful not to take their street theater too far

                                 from the urban kraals in which it has thus far been confined. When they hit the

                                 suburbs, the small towns, and the rural areas of the South, there is going to be a

                                 surprise awaiting them: white people who not only fight back, but relish doing

                                 so!"O




                                 Michael Hill, August 18, 2016: "I remember a time when I felt comfortable pretty

                                 much everywhere I went, from the rural, the suburban, to the urban. And the

                                 reason was simple: the white European man was clearly in control of all those

                                 areas. I never thought of taking a pistol with me when I went to downtown

                                 Birmingham, or Memphis, or Atlanta. The South, in particular, was still thoroughly

                                 White Man's Land (but that was slowly changing because of the federal

                                 government's involvement in forcing "civil rights" for negroes down our throats)."

                                 0




                                 Michael Hill, July 12, 2016: "If you put every negro in America in California or


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                                 Texas with its present great wealth and infrastructure, those places would turn

                                 into uncivilized hell holes in no time at all. Negroes cannot maintain white

                                 civilization, and they surely cannot build it on their own." 0




                                 League of the South board member Jack Kershaw, 1998: "Somebody needs to

                                 say a good word for slavery. Where in the world are the Negroes better off today

                                than in America?" 0




                                 National Socialist Movement
                                The National Socialist Movement (NSM) is a prominent neo-Nazi group that has

                                directed extremist, incendiary rhetoric toward Jews and other minorities while

                                supporting violence in pursuit of its political goal of "the union of all Whites into a

                                greater America on the basis of the right of national self-determination." 0 The

                                Southern Poverty Law Center identifies the NSM as the largest neo-Nazi

                                movement in the United States. 0 The NSM bills itself as "America's premier

                                white civil rights organization." 0 Though the NSM officially rejects violence, the

                                group has declared its intention to defend itself. 0 The NSM acknowledges that

                                Adolf Hitler created Nazism in Germany, but believes that it can be applied

                                anywhere. The movement believes society promotes a "big lie" of equality

                                among the races, and "the White Race" is "the most advanced and progress

                                producing race on earth." The NSM believes that the white race faces extinction

                                through race mixing as well as violence. To that end, the NSM calls for street

                                demonstrations, rallies, and marches in order to spread its message, as it

                                believes that the mainstream media is dominated by Jews. 0


                                In February 2019, black activist James Stern replaced longtime leader Jeff

                                Schoep as president of the NSM. Schoep reportedly sought to disband the

                                group, but Stern convinced Schoep to sign it over to him instead. Schoep

                                claimed that he was tricked into the transfer. Stern has promised to render the

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                                 group impotent rather than allow Schoep to disband it, which would allow

                                 somebody else to later revive the group. 0




                                                                                                Base of Operations
                           Leadership
                                                                                                   Detroit, Michigan 0
                           Commander Jeff Schoep is NSM's founder and

                           national director. Other prominent leaders include

                           Captain Brian Culpepper, public relations, and                             Website
                           Captain Butch Urban, chief of staff. 0 Black activist                    www .nsm88.org
                           James Stern took over leadership of the NSM in

                           February 2019. 0
                                                                                                   Social Media
                                                                                                  YouTube(Suspended)




                            Commander Jeff
                            Schoep
                            Founder and National
                            DirectorO




                                                                 Captain Butch Urban
                            Captain Brian                        Chief of StaffO
                            Culpepper
                            Public Relations 0




                                Membership Size and Relevance

                                                                              29
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                                 NSM reportedly had 40 dues-paying members nationwide as of 2018, according

                                 to former outreach coordinator Matthew Heimbach. 0 NSM's total nationwide

                                 membership is unknown. As of 2018, the group has 61 local chapters in 35

                                 slates and is the largest neo-Nazi group in America. 0 The group also claims to

                                 have chapters in the United Kingdom, Italy, Estonia, and Sweden. 0 On

                                 YouTube, the group had 1,020 subscribers and 149 videos as of January 2,

                                 2018, but has since been suspended. 0


                                 In 2016, NSM leader Jeff Schoep created a national far-right alliance called the

                                 Aryan Nationalist Alliance (ANA), which included neo-Nazis, racist skinheads,

                                 and Klansmen. Schoep saw the alliance as an opportunity for NSM to gain more

                                 acceptance among the far right. 0 The Traditionalist Worker Party joined the

                                 coalition that November and ANA rebranded as the Nationalist Front. The

                                 League of the South joined the Nationalist Front in April 2017. The Nationalist

                                 Front has since held several rallies across the United States, attracting a few

                                dozen supporters at each event. The Nationalist Front calls for the creation of

                                 separate, independent ethnostates in North America for each racial group. 0

                                TWP collapsed in March 2018 and League of the South pulled out of the

                                 Nationalist Front shortly after, leaving the coalition's future in doubt. 0




                                 Recruitment and Propaganda
                                The NSM's main goal is to "secure the existence of our people and a future for

                                White children." 0 NSM's 25 Points of American National Socialism manifesto

                                also contains anti-Semitic rhetoric and insists that "no Jew or homosexual may

                                be a member of the nation (greater America)." 0


                                The NSM's manifesto, 25 Points of American National Socialism, details the hate

                                group's goal of creating a "union of all Whites into a greater America on the basis

                                of the right of national self-determination." 0 The manifesto calls for an end to all

                                immigration to the United States and a series of economic changes, including the

                                dissolution and nationalization of corporations. The manifesto also calls for the

                                abolishment of the U.S. healthcare system and replacing it with universal

                                healthcare. At the same time, the manifesto is peppered with racist and anti-

                                Semitic language blaming immigrants, non-whites, and Jews for societal and

                                political problems in the United States. 0

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                                 The NSM requires its members to be at least 18 years old, but it also maintains a

                                 youth wing called the Viking Youth Corps for children between the ages of 14

                                 and 17. 0 The program is open to children of NSM members who are of pure

                                 European descent. The NSM refuses membership to children with Jewish or

                                 mixed-race bloodlines. 0


                                 The NSM uses the swastika as its symbol, believing that it represents the white

                                 race just as the Star of David represents Jews. 0 The NSM also publishes a print

                                 and online magazine of the same name. 0


                                 In November 2016, the NSM abandoned the swastika as its symbol. It instead

                                 adopted a pre-Roman alphabet symbol that had also been used by the Nazis.

                                 According to Schoep, the move was "an attempt to become more integrated and

                                 more mainstream." 0 In September 2018, former Traditionalist Worker Party

                                 leader Matthew Heimbach joined the NSM as its community outreach director. 0




                                 Violent Activities
                                 NSM officially disavows violent tactics. 0 Nonetheless, NSM members have

                                 been involved in violent activities.


                                 • On October 23, 2017, NSM member Taylor Michael Wilson disabled the

                                     engine and internal lights of an Amtrak train traveling through Nebraska.

                                     Wilson was carrying a bag with a handgun, ammunition, a knife, a gas mask,

                                     a hammer, and NSM ID cards. Crew members subdued Wilson in the engine

                                     room. Investigators searching Wilson's Missouri home in December 2017

                                     found Nazi propaganda and unregistered firearms. A search of Wilson's

                                     emails revealed he had purchased a ticket to Syria in order to join ISIS the

                                     previous year. Wilson told a cellmate that he had taken acid prior to boarding

                                     the Amtrak train and wanted to "save the train from black people." 0 Wilson

                                     pied guilty in July 2018 and was sentenced to 14 years in prison that October.

                                     He claimed that he was high on acid and did not intend to hurt anybody. 0

                                 • On April 16, 2011, members of the National Socialist Movement fought with

                                     counter-demonstrators after the latter threw rocks at a church where the group

                                     was holding a meeting. 0 No NSM members were arrested by the police.

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                                  Rhetoric
                                  NSM Frequently Asked Questions: "The first step is to awaken White people the

                                  world over to their own racial identity and to give them a profound appreciation of

                                  who they are. This is a huge undertaking! But it must be done and the NSM is

                                  doing everything in its power to do it! Conducting street demonstrations, marches

                                  and public rallies are all great ways to awaken and enable our racial family." 0




                                  NSM Frequently Asked Questions: "In the U.S. we've suffered under a false

                                  economy since the establishment of the unconstitutional Federal Reserve. Under

                                  this Jew infected system, the Jews and bankers charge the U.S. for its own

                                  money through interest! Under the NSM we will abolish the Federal Reserve and

                                  have our money based on the quality of the goods produced by the nation." 0




                                  NSM Frequently Asked Questions: "The unnatural power of the Jews

                                  desperately needs to be broken. Through dedication and lots of hard work, the

                                  National Socialist Movement will bring us to victory! Due to the uncompromising

                                  nature and reason based principles of National Socialism, it is ONLY National

                                 Socialism that will succeed! When it is a fight for the very existence of our People

                                 and a future for White children, there is no other alternative! Victory or death!!!"O




                                 Jeff Schoep: "When ... you take a German Shepherd and mix him with a Golden

                                 Retriever you have a worthless animal that nobody wants and that isn't worth

                                 anything if you're trying to breed him or sell him .... [T]hese degenerates that

                                 allow their children to race mix and this sort of thing, they're destroying the

                                 bloodlines of both races." 0




                                 JT Ready, June 15, 2000: "I do not see the niggers, homosexuals, mexicans,

                                 jews, or even child molesters ashamed or afraid to speak their minds and rally,

                                 march, post, and be activists for their sick cause. And too many brave men and

                                 women died to give me the chance to fight now. I will honor their blood and fight

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                                        Traditionalist Worker Party
                                       Traditionalist Youth Network

              - -----            Traditionalist Worker
                                 Party/Traditionalist Youth Network
                                 The Traditionalist Worker Party (TWP) emerged in 2015 as the political arm of

                                 the Traditionalist Youth Network (TYN), which Matthew Parrott and Matthew

                                 Heimbach created in 2013. The TWP claimed to be America's "first political party

                                 created by and for working families." 0 Although the TWP claimed that it

                                 opposed racism, it endorsed former KKK leader David Duke for U.S. Senate,

                                 praising his "service of our identity" and his work "against the actual racial

                                 supremacists: the Zionists." 0 The group is guided by the Fourteen Words

                                 mantra: "We must secure the existence of our people and a future for White

                                 children." 0 Deceased white supremacist David Lane created the motto, which

                                 has been adopted by the TWP and various other white nationalist groups. 0 The

                                 Fourteen Words are the basis for the TWP's dedication to creating a "sustainable

                                 Homeland for our culture, identity, families, and blood." 0


                                The Southern Poverty Law Center has dubbed Heimbach a "rising star in the

                                white supremacist world." 0 According to the Anti-Defamation League, Heimbach

                                 cites Duke as a major influence. 0 Parrott owns a compound in southern Indiana

                                where he and his son-in-law, Heimbach, lived with other followers. The TWP

                                 planned to put forward candidates in Indiana's state and local elections in 2018.

                                 0 Heimbach promoted and attended the August 2017 Unite the Right rally in

                                 Charlottesville, Virginia. 0


                                The TWP focused its rhetoric on what it termed the pillars of faith, family, and

                                folk. The party called for a rejection of atheism and secularism while claiming its

                                members come from the "traditional faiths of the European people." It promoted

                                what it called traditional family values, and fought for the interests of white


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                                 Americans, who it says have been "abandoned by the System and actively

                                 attacked by globalists and traitorous politicians." The group claims it actively

                                 fights for a white homeland in order to secure the future existence of the white

                                 people. O


                                 The group's leadership fell into disarray in March 2018 after Heimbach was

                                 arrested for physical assault against his wife and Parrott, his step-father-in-law.

                                 Heimbach is married to Parrott's stepdaughter. On March 13, 2018, Heimbach

                                was arrested after a physical altercation with Parrott following Heimbach's affair

                                with Parrott's wife. Matthew Parrott resigned from TWP following the incident. 0

                                 Parrott told the Daily Beast that because of the public altercation, "people have

                                 lost faith in the party on every level." 0 The TWP's website shut down shortly

                                after Parrott's resignation, though its YouTube presence remains active. In

                                September 2018, Heimbach briefly joined the National Socialist Movement as its

                                community outreach director. 0 It remains to be seen whether other leaders will

                                arise to continue the TWP.




                                                                                                  Base of Operations
                           Leadership
                                                                                                         Paoli, Indiana 0



                                                                                                           Website
                                                                                                   https://www.tradworker.org/

                                                                                                            (defunct)


                           Matthew Heimbach
                           was chairman and co-              Matthew Parrott                           Social Media
                           founder of the TWP. 0             was the chief
                                                             information officer and
                                                             co-founder. 0 Parrott              Twitter (TYN) (suspended), Twitter
                                                             resigned from the TWP                 (TWP) (suspended), Twitter
                                                             in March 2018. 0
                                                                                                   (Matthew Parrott), YouTube

                                                                                                     (TWP), YouTube (TYN)




                                Membership Size and Relevance
                                                                              34
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                                 The TWP had chapters in Kentucky and Ohio. 0 On YouTube, the group has

                                 gathered more than 6,800 subscribers and more than 407,000 channel views as

                                 of January 2, 2018. 0 By March 19, 2019, that number had decreased to 5,961.

                                 0 The TYN YouTube channel has more than 55,000 views and 756 subscribers

                                 as of January 2, 2018. 0 As of March 19, 2019, the You Tube channel's

                                 subscribers had decreased to 729. 0 As of Augusl 2017, the TYN had more than

                                 6,700 Twitter followers. 0 By January 2018, the TYN and TWP Twitter accounts

                                 had been suspended.




                                 Recruitment and Propaganda
                                 TWP promotes pro-white and pro-National Socialisl propaganda. 0 The TWP

                                 and TYN rely on the distribution of printed propaganda materials as well as

                                 social media and the group's website. The party's website offers a propaganda

                                 section with multiple pro-Nazi and white nationalist fliers, slickers, and other

                                 materials. 0 Followers are encouraged to move to the group's compound in

                                 Indiana. 0




                                Violent Activities
                                TWP has not been found to insligate violence. Some of its followers have,

                                 however, physically clashed with protesters.


                                 • A June 2016 TWP rally in Sacramento, California, turned into a brawl between

                                     TWP supporters and the Sacramento chapter of the Anti-Fascist Network,

                                     leaving 10 people injured. 0

                                 • In March 2016, Heimbach physically assaulted a black protester at a Donald

                                     Trump campaign rally in Louisville, Kentucky. He was fined and ordered to

                                     attend an anger management program. 0




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                                 Rhetoric
                                 TWP: "The organized Jewish community's record of deceit, duplicity, and double-

                                 standards in lobbying against American interests within the American political

                                 system is unmatched." 0




                                 Matthew Heimbach, 2017: "We are the only ideology that can defeat the

                                 international Jew and the international capitalist." 0




                                 Matthew Heimbach, 2016: "White Americans are getting fed up and they're

                                 learning that they must either push back or be pushed down." 0




                                 Matthew Parrott, 2016: "When critical thinkers are shown what to look for, they

                                 become anti-Semites in due time despite themselves, as Jewish subversion of

                                 the West is too pervasive and consistently hostile and destructive to remain

                                 objective about for long." 0




                                 Matthew Parrott, 2016: "Homosexuality is universally taboo because it's

                                 dangerous, dysfunctional, and degenerate. It's not a healthy part of a balanced

                                 civilization. Homosexuality's like shingles, always lingering in the background but

                                 only flaring up into a real problem when a civilization's somehow weakened or

                                 decrepit." 0




                                Vanguard America/Patriot Front
                                Vanguard America (VA) is a white nationalist, neo-Nazi group that opposes the
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                                 idea of a multicultural America and has propagated an extremist, incendiary

                                 platform targeting African Americans, immigrants, Jews, and other minorities.

                                 Founded in 2014, the group primarily operates online, though its website was

                                 suspended in August 2017 by its Internet service provider. However, the site has

                                 since reappeared with the same URL as the online home of the Patriot Front. As

                                 exemplified by its slogan of "blood and soil," VA ties national identity with racial

                                 identity. The group believes that the United States is meant exclusively for the

                                white nation. 0


                                 In December 2016, authorities discovered VA fliers posted on the University of

                                 Maryland campus. 0 During the 2016-2017 school year, the Anti-Defamation

                                 League discovered 32 incidents of VA propaganda on university campuses in

                                Arkansas, California, Florida, Indiana, Maryland, New Jersey, Oregon, Texas,

                                Virginia, and Washington. The group also organizes public rallies in conjunction

                                with other white supremacist groups. 0


                                Thomas Ryan Rousseau, leader of VA's Texas chapter, brought a contingent of

                                VA members to the August 2017 Unite the Right rally in Charlottesville, Virginia.

                                 0 Alex Fields, who drove his car into a crowd of counter-protesters, killing one,

                                was photographed wearing VA's uniform during the rally. However, VA later

                                denied that Fields belonged to the movement and condemned the use of

                                violence, reiterating its claim to be a political movement. 0 In late August 2017,

                                Rousseau broke from VA to form the Patriot Front after disagreements with its

                                leaders. Rousseau reportedly seized control of VA's servers and repurposed its

                                website and social media accounts. The Patriot Front has since held rallies and

                                displayed propaganda in California, Maryland, Illinois, Texas, Florida, and

                                elsewhere across the country. 0




                                                                                               Base of Operations
                           Leadership
                                                                                                   New Mexico (VA), 0

                                                                                                 Texas (Patriot Front) 0



                                                                                                      Website
                                                                                               bloodandsoil.org (suspended

                                                                                               under VA and repurposed for
                                                                 Francisco Rivera

                                                                              37
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                            Dillon Hopper, a.k.a.          Francisco Rivera                              Patriot Front)
                            Dillon Irizarry                claims to be the
                            A Marine Corps                 group's public relations
                            veteran from New               liaison. 0
                            Mexico, is the leader of
                            Vanguard America 0                                                        Social Media
                                                                                                 Twitter (Vanguard America,

                                                                                              suspended), Twitter (PatriotF rent)

                                                                                              Twitter (Patriot Front) (suspended),

                                                                                                 Twitter (Patriot Front Texas

                                                                                                Chapter) (suspended}, Twitter

                                                                                              (Patriot Front Washington Chapter)

                                                                                                 (suspended), Twitter (Patriot
                            Thomas Ryan
                            Rousseau                                                           Front}, YouTube Channel (Patriot
                            Former leader of VA's
                            Texas chapter and the                                                 Front, formerly Vanguard)
                            founder of the Patriot
                            Front. 0




                                 Membership Size and Relevance
                                 As of August 2017, the VA had active chapters in Arizona, California, Florida,

                                 Indiana, Louisiana, Maryland, Massachusetts, New Jersey, Oregon,

                                 Pennsylvania, Texas, Virginia, and Washington. Irizarry has claimed the group is

                                 active in 20 states and has a membership of at least 200. VA formed a women's

                                 division in 2017. 0 According to the Anti-Defamation League, VA primarily

                                targets 18- to 24-year-olds. 0


                                The exact size of the Patriot Front is undetermined. As of March 19, 2019, the

                                 Patriot Front's YouTube channel had 1,367 subscribers, but no content. 0

                                 Created in September 2017, the Patriot Front's Twitter account had 1,005

                                followers as of January 2, 2018, but was suspended soon after. 0 The Patriot

                                 Front created a new Twitter account in February 2018, which had 589 followers

                                as of April 2, 2018. 0 Repurposed from VA's Texas chapter, the Twitter account

                                of the Patriot Front's Texas chapter had 765 followers as of April 2, 2018. 0 Also

                                 repurposed from the VA's Washington chapter, the Twitter account of the Patriot

                                 Front's Washington chapter had 805 followers as of April 2, 2018. 0 All of these

                                Twitter accounts have since been suspended. The Patriot Front launched a new

                                Twitter account in January 2019, which 424 followers as of March 19 that year. 0


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                                 Recruitment and Propaganda
                                 VA and the Patriot Front utilize the Internet to spread their propaganda through

                                 fliers, stickers, and social media channels. The group has distributed propaganda

                                 at universities, and synagogues, and publicly displayed white-nationalist and

                                 anti-Semitic banners and other propaganda. 0 VA requires its members to be at

                                 least 80 percent European ancestry, while banning felons, addicts,

                                 "homosexuals, transsexual, adulterers, or any other form of sexual degeneracy."
                                 0


                                 The Patriot Front has embraced imagery that is both patriotic American and

                                 traditional fascist. The Front has imbued its manifesto with patriotic language that

                                 paints the organization as the savior of an America that, "as we know it, is

                                 already dead or will not survive. This age of our people will instead be seen as

                                 an era of rebirth, and the beginning of a new chapter in history." The Front is

                                 dedicated to creating a "nation within a nation" that it claims will be a "hard reset"

                                 of the current America and "a return to the traditions and virtues of our

                                forefathers." 0 During its demonstrations, the Front has employed anti-

                                 immigrant, anti-Semitic, and racist language that calls for the deportation and/or

                                 the marginalization of non-whites. 0




                                Violent Activities
                                 Neither the VA nor the Patriot Front have directly engaged in violent activity.

                                 Nonetheless, the VA insignia was displayed by a person who engaged in a

                                violent attack.


                                 • August 12, 2017: James Alex Fields displayed a VA shield during the Unite

                                     the Right rally in Charlottesville, Virginia. At the rally, Fields drove his car into

                                     a group of counter-protesters, killing one woman. VA later denied that Fields

                                     belonged to the organization. 0



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                                 Rhetoric
                                 Patriot Front manifesto: "Our mission is a hard reset on the nation we see today,

                                 and a return to the traditions and virtues of our forefathers. The same spirit that

                                 urged our ancestors onward to create this nation will once again be brought to

                                 light, and a new America will be built within its current dilapidated, shameful

                                 iteration. Generation after generation lived in war and strife so that their

                                 descendants may know peace. It was their duty to give their lives in such a way.

                                 It is now our duty to make their sacrifices mean something." 0




                                 Patriot Front manifesto: "When the American nation sees the thin veneer of

                                 civilization begin to wane as resources are diverted from them to the

                                 replacement population that has been imported to supersede and then be

                                 enslaved on their ashes, they will reasonably turn to the only force whose vision

                                 of the future includes them." 0




                                 Patriot Front manifesto: "America is a bleeding carcass, bereft of the moral

                                 foundations which made it powerful. The America of modernity is little more than

                                 an economic zone in which the dollar is used. A unified culture no longer exists

                                 due to replacement migration. Ethical standards no longer exist due to the

                                 steady erosion of the history of the American nation. The State has situated itself

                                 on an ever growing pile of parasitic rules and regulations. Bloated to the point of

                                 breaking by bureaucracy, each action taken to solve any problem is done so as a

                                 means to delay the inevitable. Nothing about the current system is sustainable.

                                The hard truth of the coming struggle is that America, as we know it, is already

                                 dead or will not survive. This age of our people will instead be seen as an era of

                                 rebirth, and the beginning of a new chapter in history." 0




                                 Patriot Front Texas chapter Twitter account, December 22, 2017: "From

                                 February 23 - March 6, 1836 Texas Patriots fought and died against a Mexican

                                 invasion. Today Patriot Front stands up against an ongoing Mexican invasion." 0




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                                 Patriot Front Washington chapter Twitter account, December 22, 2017: "Stand
                                 up and defend your nation whiteman. Get off the sidelines." 0




                                 Patriot Front Twitter account, December 18, 2017: "#PatriotFront activists in

                                 Maryland did a banner drop. Those that are, and have been, incompatible with

                                the American way of life have forfeited any right to this soil. Our nationhood is

                                 not worth gambling on a multicultural experiment." 0




                                 Patriot Front Twitter account, December 12, 2017: "The vermin at the SPLC and

                                their "Hatewatch" have turned their beady-eyed gaze towards us. Their

                                slanderous statements are a resounding endorsement to our "nationwide white-

                                 nationalist network". #PatriotFront#FakeNews" 0




                                Vanguard America Michigan chapter Twitter account, July 14, 2017: "Our

                                ancestors built this country. Be proud and honor their struggle. Stand up White

                                Man and defend your lands." 0




                                Francisco Rivera, June 2017: "I don't believe in having Muslims in the United

                                States. Their culture is incompatible with ours." 0




                 Additional White Nationalist Media Resources
      Like other extremist movements, the white nationalist movement has an aversion to mainstream media, which it largely

      views as controlled by Jewish/Zionist interests, beholden to the far-left, and/or anti-white. For example, in February 2017,

      League of the South leader Michael Hill accused the New York Times of being "anti-white and anti-Christian." OAs such,

      white nationalists have created their own media platforms in order to propagate their views. CEP has compiled the following

      list of some of the most popular white nationalist propaganda outlets:




       • Barnes Review: An online magazine that promotes revisionist history, eugenics, and anti-Semitism. Blog posts include

          topics such as "Why the Holocaust Story Was Invented," 0 "DNA and Ancient White Egypt," 0 and "Black History Month

          Myths."O The website also includes an online bookstore that sells racist material such as /Q and Race by Richard Hume,

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          which argues that race determines intelligence. 0

       • Occidental Quarterly: A print and online magazine that "unapologetically defends the cultural, ethnic, and racial interests

          of Western European peoples and examines contemporary political, social, and demographic trends that impact the

          posterity of Western Civilization." 0 Articles include "Whiteness Studies: Jews, Communists, and Genocidal Hate," 0 "The

          Holocaust Industry in the UK," 0 and special sections on "white pathology." 0

       • Occidental Observer: An online newspaper spun off from the Occidental Quarterly. The Occidental Observer focuses on

          "themes of white identity, white interests, and the culture of the west." 0

       • The Reality Calls Show: A podcast run by Tara McCarthy, who believes that "the solution to reversing the destruction that

          globalism has wrought on our civilization is ethno-nationalism - a natural and traditional way of living that has been

          heavily demonized by the mainstream media." 0 McCarthy's book, Irreplaceable - How We Can (And Why We Must)

          Save the West, expounds on her white supremacist views and provides tips to living an alt-right lifestyle. 0


      • The Right Stuff: A website founded by Mike Peinovich, a.k.a. Mike Enoch, which hosts podcasts, a blog, and a forum.

         Notable podcasts on the site include "The Daily Shoah," "Fash the Nation," and "This Week in White Genocide." The

         forum, blog, and podcasts touch on a variety of white supremacist, fascist, and neo-Nazi topics such as anti-

         miscegenation, homophobia, and anti-Semitism, while also promoting groups such as Identity Evropa.

      • Rense Radio Network: An online radio network founded by Jeff Rense, whom the Anti-Defamation League and Southern

         Poverty Law Center have labeled anti-Semitic. 0 The network features well-known white supremacists such as David

         Duke and Don Black of Stormfront.

      • Redlce.tv: An online media forum run by Henrik Palmgren, Lana Lokteff, Fredrik Tormann, and Patrick Casey. The site

         features video and audio programs geared toward an audience "seeking an alternative to the mainstream, covering

         politics and social issues from a pro-European perspective." 0 Palmgren created Redlce in 2003. According to the site,

         he is "most concerned with European heritage and culture and counter acting the globalists seeking to destroy it." 0




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